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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           WESTERN DIVISION


UNITED STATES OF AMERICA

VS.                                CRIMINAL NO. 5:07-cr-17(DCB)(FKB)
                                   CIVIL ACTION NO. 5:15-cv-15 (DCB)

CHARLES EDWARD PRICE


                                 ORDER

      This cause is before the Court on the movant Charles Edward

Price’s “Miscellaneous Motion / Motion for Reduction of Sentence”

(docket entry 422), Motion for Status, etc. (docket entry 448), and

“Motion for an Order Compelling Disclosure or Discovery” (docket

entry 449).

      Price filed a Notice of Appeal to the Fifth Circuit Court of

Appeals on March 19, 2015.      In order for this Court to exercise

subject-matter jurisdiction over a claim, the claim must be ripe

for review.   DeCell & Associates v. F.D.I.C., 36 F.3D 464, 468-69.

A section 2255 motion and related motions filed while a direct

appeal is pending are generally not ripe for review because the

disposition of the appeal may render such motions moot.            Welsh v.

United States, 404 F.2d 333 (5th Cir. 1968), abrogated on other

grounds, United States v. Ortega, 859 F.2d 327, 334 (5th Cir. 1988).

Accordingly, when a direct appeal is pending, a court should

normally dismiss a section 2255 motion and related motions without

prejudice to the movant reasserting the motions after the appellate
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court has ruled on his direct appeal.            Jones v. United States, 453

F.2d 351, 352 (5th Cir. 1972)(holding that a motion to vacate under

section 2255 “is not entitled to consideration on the merits” when

the direct appeal remains pending).

      The Court finds no extraordinary circumstances justifying its

consideration     of   Price’s   motions      while   his    direct    appeal       is

pending.   The Court shall therefore summarily dismiss the motions

for lack of subject matter jurisdiction pursuant to Rule 4 of the

Rules Governing Section 2255 cases.

      Accordingly,

      IT IS HEREBY ORDERED that movant Charles Edward Price’s

“Miscellaneous Motion / Motion for Reduction of Sentence” (docket

entry 422), Motion for Status, etc. (docket entry 448), and “Motion

for an Order Compelling Disclosure or Discovery” (docket entry 449)

are   DISMISSED    WITHOUT   PREJUDICE        for   lack    of   subject    matter

jurisdiction.

      SO ORDERED, this the       28th       day of December, 2015.



                                                 s/David Bramlette
                                             UNITED STATES DISTRICT JUDGE




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